                                                                                    027,21*5$17('

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )       Case No.1:11-cr-00010
                                               )       Judge Sharp
SAUNDRA RODRIGUEZ                              )

             MOTION FOR LEAVE TO TRAVEL WHILE ON PROBATION

       Comes now, Saundra Rodriguez, by and through counsel of record, G. Kerry Haymaker

and hereby moves this Court to allow the probationer to travel between the dates of October 17,

2014 and October 21, 2014. More specifically, the probationer is seeking to travel on a cruise in

the Carribean.    In support of this Motion, the defendant will show:

       1.        The probationer has been on probation for some two months.

       2.        The probationer is seeking to take said trip with her boyfriend.

       3.        The probationer resides in Miami, Florida and is being supervised by U.S.

Probation in Miami, Florida.

       4.        The defendant is seeking permission from the Court to allow him to travel on a

Carribean cruise on October 17, 2014 through October 21, 2014.

       5.        Counsel has been unable to speak with the attorney for the government but

anticipates that the government will not have any objection to the granting of this motion.

                                                              Respectfully submitted,

                                                              HAYMAKER & HEROUX, P.C.


                                                              s/ G. Kerry Haymaker________
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